       Case 1:10-cr-00131-LJO Document 159 Filed 11/29/12 Page 1 of 2



 1   BENJAMIN B. WAGNER
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 2   KAREN A. ESCOBAR
     Assistant U.S. Attorney
 3   2500 Tulare Street
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 4   Telephone: (559) 497-4000

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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,          )        1:10-cr-00131 AWI
                                        )
12                                      )
                                        )
13                  Plaintiff,          )
                                        )
14        v.                            )        STIPULATION RE:
                                        )        CONTINUANCE AND
15                                      )        ORDER
                                        )
16                                      )
     DUSTIN YORK,                       )
17                                      )
                                        )
18                                      )
                    Defendant.          )
19   ___________________________________)

20          The above-named Defendant in the above-captioned matter, by

21   and through his attorney, MONICA MIHELL, and the United States of

22   America, by and through its attorneys, BENJAMIN B. WAGNER, United

23   States Attorney, and KAREN A. ESCOBAR, Assistant United States

24   Attorney, hereby enter into the following stipulation:

25          1.   The parties to the above-captioned matter agree to vacate

26   his December 3, 2012, sentencing hearing and reset the matter

27   ////

28   ////

                                          1
       Case 1:10-cr-00131-LJO Document 159 Filed 11/29/12 Page 2 of 2



 1   for January 14, 2013, at 11:00 a.m.

 2    DATED: November 28, 2012                    Respectfully submitted,

 3                                                BENJAMIN B. WAGNER
                                                  United States Attorney
 4
                                                  By: /s/ Karen A. Escobar
 5                                                  KAREN A. ESCOBAR
                                                  Assistant U.S. Attorney
 6
                                                   /s/ Monica Mihell
 7                                                 MONICA MIHELL
                                                   Attorney for Defendant
 8                                                 Dustin York

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10                                 O R D E R

11        Having read and considered the foregoing stipulation,

12        IT IS THE ORDER of the Court that the current sentencing

13   hearing set December 23, 2012, for the above-named defendant is

14   hereby vacated and is reset for January 14, 2013, at 11:00 a.m.

15   IT IS SO ORDERED.
16
     Dated:       November 29, 2012
17   0m8i78
                                           UNITED STATES DISTRICT JUDGE
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